               Case: 2:22-mj-00366-EPD Doc #: 20 Filed: 06/02/22 Page: 1 of 1 PAGEID #: 39
AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                          SouthernDistrict
                                                      __________   Districtofof__________
                                                                                Ohio

                   United States of America                            )
                                  v.                                   )
                                                                       )       Case No. 2:22-MJ-00366
                Shihab Ahmed Shihab Shihab                             )
                             Defendant                                 )

                                               WAIVER OF A PRELIMINARY HEARING

        I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P.
32.1.

          I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R. Crim. P. 32.1.



Date:        06/02/2022                                                    /s/ Shihab Ahmed Shihab Shihab verbal authorization
                                                                                              Defendant’s signature

                                                                                           /s/ George Chaney Jr.
                                                                                        Signature of defendant’s attorney


                                                                                     George Chaney, Jr. (LA #22215)
                                                                               Printed name and bar number of defendant’s attorney
                                                                                    10 West Broad Street, Suite 1020
                                                                                      Columbus, Ohio 43215-3469


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